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                    EXHIBIT 2
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   Curriculum Vitae – David Roy Southwell

   Date of birth -          October 11, 1962


   Address -                27 Netherby Avenue
                            Netherby SA 5062

   Education

   Other -           “Firestone University” – Akron, Ohio, USA, 1997 (Graduate)
                            -   Tire design factors
                            -   Compounding
                            -   Construction
                            -   Field Engineering
                            -   Analysis of operating conditions
                            -   Performance measurement and analysis

                     Stahlgruber Foundation Tire Inspection, Repair & Retreading training, 2003
                            -   Damage and failure modes
                            -   Repair limits
                            -   Repair techniques
                            -   Repair failure analysis


   Tertiary -               Master of Engineering
                            University of South Australia

                            Bachelor of Management
                            University of South Australia

                            Trade certificate in Automotive Mechanics
                            O’Halloran Hill TAFE


   Secondary -              Matriculation
                            Prince Alfred College, 1979


   Memberships and Associations



      Member, Society of Automotive Engineers




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   Employment History

   Feb 2005 -          Independent tire industry consultant and failure analyst
                       www.tirexperts.com.au


   July 2004 –         South Pacific Tires
   February 2005       (Manufacturer of Goodyear, Dunlop and related brands for
                       Australasian and export markets)
                       New Product Manager
                       -   Responsibility for new product design and development processes
                       -   Managing indoor and outdoor tire test activities
                       -   Recommending and implementing construction and compound
                           specifications to ensure appropriate performance levels
                       -   Surveying market conditions to determine suitability of
                           specifications
                       -   Co-ordinating market trials of new products
                       -   Ensuring product compliance with all necessary legislative
                           requirements

   January 2001 –    Bridgestone Corporation of Japan
   June 2004
                     Technical Manager, Bridgestone/Firestone Training & Communication
                     Centre, Bangkok, Thailand.

                          Establishment of formal in-service tire inspection procedures for all
                           product groups (Passenger and light truck, Truck & Bus, Industrial,
                           bias ply and radial ply designs)
                          Training of technical service staff from Asia/Oceania, Middle East
                           and African offices:

                              o   tire design, development and production processes
                              o   production quality systems
                              o   tire materials - origin, properties and appropriate uses
                              o   inspection techniques to determine failure mode & causes
                              o   assessment of tire designs for market suitability
                              o   impact of service conditions on performance and durability
                              o   dynamic behaviour of tires – interaction with vehicle/road
                              o   international regulations, design standards & test methods
                              o   tire performance monitoring and measurement
                              o   tire economics
                              o   software development – fleet tire monitoring
                              o   all aspects of field technical service work

   May 1999 to         Dealer Principal (Self employed)
   October 2000

                          Director and Dealer Principal of The Tireman, a retail tire and
                           automotive mechanical services outlet in Adelaide.
                          conduct of a consultancy for transport operators, tire dealers,
                           importers & wholesalers in the areas of fleet tire management,
                           product quality and related matters.

         The business was purchased by the Franchisor (Bridgestone Australia) to enable me
         to take up the above role with Bridgestone Corp. in Thailand.
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   January 1992 to   Bridgestone Australia Ltd.
   May 1999
                     National Technical Field Service Manager
                     Wide ranging technical management responsibilities across all tire
                     product groups, the major ones being listed below:
                        make technical representations to major end users, original
                         equipment manufacturers, distributors and dealers
                        development and implementation of formal technical procedures
                         and techniques for use by technical service staff
                        prepare and present product and industry information to the media
                         and other concerned bodies
                        production and distribution of technical material
                        technical training at all levels in the distribution channel
                        responsibility for the technical elements of 6 tire retread plants

                     Product Development

                        plan and manage new product development programmes
                        preparing compound and construction specifications for new and
                         revised products
                        recommend and implement changes to product design and
                         specification
                        test track evaluation of handling, noise, ride and other dynamic tire
                         response characteristics
                        design and conduct extensive field trials to assess/confirm
                         suitability of new products and/or specification changes
                        ongoing inspection and analysis of failed and damaged tires to
                         ascertain mode and cause of failure; determine and implement
                         countermeasures where appropriate

                     Other

                        design and administration of the national warranty system
                        direct the design and implementation of fleet tire management
                         software
                        responsibility for product and public liability claims
                        fulfil the position of Director of the Tire and Rim Association of
                         Australia, the organisation that formulates and publishes
                         engineering standards for the design, manufacture and fitment of
                         automotive wheels and tires
                        serve as Chairman of the Technical Committee of the Australian
                         Tire Manufacturers Association. ATMA’s task is to represent the
                         industry to Government, public and other relevant bodies.

   January 1989 to   Bridgestone Australia Ltd.
   December 1991
                     State Technical Service Manager – SA/NT
                        responsibility for all Bridgestone tire technical matters within
                         SA/NT
                        Inspect tires submitted for warranty, product and/or public liability
                         claim to determine mode and cause of failure
                        prepare and make technical representations to commercial vehicle
                         fleets, dealers, wholesalers, government bodies and other parties
                                                                                            66
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                          administration of new product design and development
                           programmes

   January 1987 to     Bridgestone Australia Ltd.
   December 1988
                       OE Engineering and Product Co-ordinator

                          responsibility for development of new and improved products for
                           sale to vehicle and machinery manufacturers
                          new product performance testing/evaluation, and liaising with
                           design staff concerning product specifications and changes
                           thereto
                          investigation and resolution of production and field quality issues
                           across all product groups

   October 1985 to     Ford Motor Company of Australia Ltd.
   December 1986
                       Field Manager

                          responsibility for the parts and service activities of 24 Ford dealers.
                           This encompassed service technical support and staff training,
                           investigating & reporting on product failures and similar activities.

   February 1984 to    Mitsubishi Motors Australia Ltd.
   October 1985
                       Vehicle Development Technical Officer

                          this position involved Australian Design Rule certification, test
                           track driving to assess vehicle dynamic response characteristics,
                           durability test driving to evaluate vehicle and component durability,
                           technical report compilation, new model road tests and
                           subsequent market suitability evaluation, vendor liaison, and
                           dealer field problem investigation/resolution.

   Jan 1980 – Dec 1983 Mitsubishi Motors Australia Ltd.

                       Automotive Apprenticeship

                       an intensive four year Company training course involving rotation
                       throughout all of the Company’s operations, from fitting & machining to
                       manufacturing, warranty, industrial engineering, engine development,
                       service communication and vehicle development.


   Extracurricular     Designer/builder of Clubman sports car for motorsport competition
                       Motorsport competitor (rally, hillclimb and circuit sprints) since 1983.




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